Case 2:14-cv-01020-JRG-RSP Document 147 Filed 01/06/22 Page 1 of 1 PageID #: 4009




                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     MARSHALL DIVISION

     NATIONAL OILWELL DHT, LP,                      §
 .                                                  §
                       Plaintiff,                   §
                                                    §
                                                                 Case No. 2:14-cv-1020-JRG-RSP
     v.                                             §
                                                    §
     AMEGA WEST SERVICES, LLC,                      §
                                                    §
                      Defendant.                    §

                                                  ORDER

            Counsel having advised the Court that they expect to resolve all, or nearly all, of the issues

     remaining regarding exhibits, the final pretrial conference set for January 11, 2022 is continued

     until February 4, 2022 at 9:00 a.m.
            SIGNED this 3rd day of January, 2012.
           SIGNED this 6th day of January, 2022.




                                                         ____________________________________
                                                         ROY S. PAYNE
                                                         UNITED STATES MAGISTRATE JUDGE
